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           In the United States Court of Federal Claims
                                           No. 20-954C
                                   (Filed: September 29, 2020)

***************************************
DAWANE ARTHUR MALLETT-EL,             *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
***************************************

                                             ORDER

         On August 5, 2020, the court issued an order directing plaintiff, who is proceeding pro se
and is incarcerated at USP Florence ADMAX, to either pay the $400.00 in required fees or
submit a completed application to proceed in forma pauperis (“IFP”), a completed Prisoner
Authorization form, and a trust fund account statement. The court cautioned plaintiff that failure
to comply with the order by September 21, 2020, would result in the dismissal of his case for
failure to prosecute under Rule 41 of Rules of the United States Court of Federal Claims
(“RCFC”). As of the date of this order, plaintiff has not paid the filing fee or submitted an IFP
application, Prisoner Authorization form, and trust fund account statement. Accordingly, the
court DISMISSES plaintiff’s complaint without prejudice pursuant to RCFC 41(b). The clerk
shall enter judgment accordingly.

       IT IS SO ORDERED.

                                                     ___________________________________
                                                     MARGARET M. SWEENEY
                                                     Chief Judge
